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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF MICHIGAN

RAMON WARD,
                                                              CASE NO.: 21-CV-12742
                                                              HON. PAUL D. BORMAN
             Plaintiff,
v

COUNTY OF WAYNE,
ROBERT AGACINSKI
NANCY WESTVELD, JANET NAPP,
MONICA CHILDS, DANNY MAYNARD,
DALE COLLINS, FRED JORGENSEN,
TONY SANDERS, MARK THOMAS, and
UNKNOWN EMPLOYEES OF THE WAYNE
COUNTY PROSECUTOR’S OFFICE,
AND THE DETROIT POLICE DEPARTMENT,

              Defendants.
__________________________________________________________________________________________
 JOHN SMIETANKA (P20610)                      AUDREY J. FORBUSH (P41744)
 JOSEPH DALY (P81312)                         PLUNKETT COONEY
 SMIETANKA LAW GROUP                          Attorney for Defendants County of
 Attorney for Plaintiff                       Wayne, Robert Agacinski, Nancy
 4175 Parkway Place Drive #104                Westveld and Janet Napp
 Grandville, MI 49418                         Plaza One Financial Center
 (616) 667-2217                               111 E. Court Street - Suite 1B
 jas@smietankalaw.com                         Flint, MI 48502
                                              (810) 342-7014/
                                              (810) 232-3159 - fax
                                              aforbush@plunkettcooney.com

 JARRETT ADAMS (NEW YORK                      JAMES R. ACHO (P62175)
 #5455712)                                    JORDAN J. FIELDS (P76989)
 LAW OFFICE OF JARRETT ADAMS,                 ISA M. KASOGA (P70448)
 PLLC                                         Attorneys for Defendants Monica
 40 Fulton Street, Floor 7                    Childs, Danny Maynard, Dale Collins,
 New York, NY 10038                           Fred Jorgensen, Tony Sanders and
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 (646) 880-9707                            Mark Thomas
 jadams@jarrettadamslaw.com                17463 College Parkway,
                                           3rd Floor
                                           Livonia, Michigan 48152
                                           734-261-2400


  DEFENDANT WAYNE COUNTY’S ANSWER TO PLAINTIFF’S COMPLAINT,
     AFFIRMATIVE DEFENSES AND RELIANCE UPON JURY DEMAND

      NOW COMES Defendant, Wayne County, by and through its attorneys,

PLUNKETT COONEY, and for its Answer to Plaintiff’s Complaint, states as

follows:

                               INTRODUCTION

      1.    Pursuant to 42 U.S.C. §1983, this is a federal civil rights action by

Plaintiff, Ramon Ward, an innocent man, who was unlawfully arrested and

detained, sexually assaulted, unfairly prosecuted, and wrongfully convicted of

murder in the County of Wayne as a result of Defendants’ conduct. Mr. Ward

spent 25 years and 10 months in jail and prison for a crime he did not commit.

      Defendants’ conduct deprived Mr. Ward of his rights guaranteed to him

under the United States Constitution, and also constituted tortious conduct

under State of Michigan law. Mr. Ward seeks to obtain compensatory damages,

punitive damages, costs and attorneys’ fees for Defendants’ conduct. This action

also seeks injunctive and equitable relief against the County of Wayne to reform




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the unconstitutional policy and/or custom that was the moving force behind

the constitutional rights violations suffered by Mr. Ward.

      Response: In response to the allegations contained in paragraph 1,

Defendant denies any allegation of wrongdoing.

                                 JURISDICTION

      2.    This action is brought under 42 U.S.C. § 1983 to address the

deprivation under color of law of Ramon Ward’s rights as secured by the United

States Constitution and under Michigan state law.

      Response: In response to paragraph 2, Defendant lacks knowledge or

information sufficient to form a belief as to the truth of this allegation and

leaves Plaintiff to his proofs. Defendant denies any allegation of wrongdoing.

      3.    The Court has jurisdiction over Ramon Ward’s federal claims

pursuant to 28 U.S.C. §§ 1331 and 1343, and has supplemental jurisdiction over

Mr. Ward’s state law claims pursuant to 28 U.S.C. § 1367.

      Response: In response to the allegations contained in paragraph 3, upon

information and belief, it is admitted.

      4.    Venue is proper under 28 U.S.C. § 1391 because the Eastern District

of Michigan is the judicial district where the constitutional rights violations

suffered by Ramon Ward occurred.




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      Response: In response to the allegations contained in paragraph 4,

Defendant lacks knowledge or information sufficient to form a belief as to the

truth of this allegation and leaves Plaintiff to his proofs.




                                     PARTIES

      5.     Plaintiff, Ramon Ward is a citizen of the United States of America

who at all relevant times resided in the State of Michigan.

      Response: In response to the allegations contained in paragraph 5,

Defendant lacks knowledge or information sufficient to form a belief as to the

truth of this allegation and leaves Plaintiff to his proofs.

      6.     Defendant, County of Wayne (“Defendant County”), is a body

corporate under Article VII, Section 1 of the Michigan Constitution. At all

relevant times, Defendant County was the principal and employer of

Defendants, Robert Agacinski, Nancy Westveld, and Janet Napp who acted

pursuant to Defendant County’s policies and customs.

      Response: In response to the allegations contained in paragraph 6, it is

admitted that Wayne County is a corporate body under the Michigan

Constitution and it is admitted that at some point, Agacinski, Westveld and




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Napp were employees, but lacks knowledge or information sufficient to form a

belief as to the truth of the remaining allegations.

      7.    Defendant, Robert Agacinski (“Defendant Agacinski”), at all

relevant times, was an adult resident of the State of Michigan and was an

assistant prosecuting attorney for the Wayne County Prosecutor’s Office

(“WCPO”), which is a department of Defendant County.

      Response: In response to the allegations contained in paragraph 7, it is

admitted that Wayne County employed Robert Agacinski for a period of time.

It is denied as untrue that the Wayne County Prosecutor's Office is a

“department” of Wayne County as that is an inaccurate legal description.

      8.    Defendant, Nancy Westveld (“Defendant Westveld”), at all relevant

times, was an adult resident of the State of Michigan and was an assistant

prosecuting attorney for the WCPO, which is a department of Defendant

County.

      Response: In response to the allegations contained in paragraph 8, it is

admitted that Wayne County employed Nancy Westveld for a period of time. It

is denied as untrue that the Wayne County prosecutor's office is a “department”

of Wayne County as that is an inaccurate legal description.




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      9.     Defendant, Janet Napp (“Defendant Napp”), at all relevant times,

was an adult resident of the State of Michigan and was an assistant prosecuting

attorney for the WCPO, which is a department of Defendant County.

      Response: In response to the allegations contained in paragraph 9, it is

admitted that Wayne County employed Janet Napp for a period of time. It is

denied as untrue that the Wayne County prosecutor's office is a “department”

of Wayne County as that is an inaccurate legal description.

      10.    Defendant, Monica Childs (“Defendant Childs”), at all relevant

times, was an adult resident of the State of Michigan and was a Detroit Police

Department (“DPD”) detective.

      Response: In response to the allegations contained in paragraph 10,

Defendant lacks knowledge or information sufficient to form a belief as to the

truth of this allegation and leaves Plaintiff to his proofs.

      11.    Defendant, Danny Maynard (“Defendant Maynard”), at all relevant

times, was an adult resident of the State of Michigan and was a DPD police

officer.

      Response: In response to the allegations contained in paragraph, 11,

Defendant lacks knowledge or information sufficient to form a belief as to the

truth of this allegation and leaves Plaintiff to his proofs.




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      12.    Defendant, Dale Collins (“Defendant Collins”), at all relevant times,

was an adult resident of the State of Michigan and was a DPD detective.

      Response: In response to the allegations contained in paragraph 12,

Defendant lacks knowledge or information sufficient to form a belief as to the

truth of this allegation and leaves Plaintiff to his proofs.

      13.    Defendant, Fred Jorgensen (“Defendant Jorgensen”), at all relevant

times, was an adult resident of the State of Michigan and was a DPD police

officer.

      Response: In response to the allegations contained in paragraph 13,

Defendant lacks knowledge or information sufficient to form a belief as to the

truth of this allegation and leaves Plaintiff to his proofs.

      14.    Defendant, Tony Sanders (“Defendant Sanders”), at all relevant

times, was an adult resident of the State of Michigan and was a DPD sergeant.

      Response: In response to the allegations contained in paragraph 14,

Defendant lacks knowledge or information sufficient to form a belief as to the

truth of this allegation and leaves Plaintiff to his proofs.

      15.    Defendant, Mark Thomas (“Defendant Thomas”), at all relevant

times, was an adult resident of the State of Michigan and was a DPD police

officer.




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      Response: In response to the allegations contained in paragraph 15,

Defendant lacks knowledge or information sufficient to form a belief as to the

truth of this allegation and leaves Plaintiff to his proofs.

      16.    Defendants,    Unknown      Employees      of     the   Wayne   County

Prosecutor’s Office and the Detroit Police Department, at all relevant times,

were adult residents of the State of Michigan.

      Response: In response to the allegations contained in paragraph 16,

Defendant lacks knowledge or information sufficient to form a belief as to the

truth of this allegation and leaves Plaintiff to his proofs.

                                  FACTS
 Facts Pertaining to the Unlawful Arrest and Detention of, Sexual Assault
 of, the Use of Fabricated Evidence against, Concealment of Exculpatory
        Evidence from, and Malicious Prosecution of Ramon Ward


      17.    On January 25, 1994, the bodies of Denise Sharon Cornell

(“Cornell”) and Joan Gilliam (“Gilliam”) were found in a vacant home located in

Detroit, Michigan.

      Response: In response to the allegations contained in paragraph 17,

Defendant lacks knowledge or information sufficient to form a belief as to the

truth of this allegation and leaves Plaintiff to his proofs.

      18.    Cornell and Gilliam were murder victims who died of gunshot

wounds to the head.


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      Response: In response to the allegations contained in paragraph 18,

Defendant lacks knowledge or information sufficient to form a belief as to the

truth of this allegation and leaves Plaintiff to his proofs.

      19.    Ramon Ward did not shoot or kill Cornell and Gilliam.

      Response: In response to the allegations contained in paragraph 19,

Defendant lacks knowledge or information sufficient to form a belief as to the

truth of this allegation and leaves Plaintiff to his proofs.




      20.    Defendant Collins was in charge of the DPD investigation into the

murders of Cornell and Gilliam.

      Response: In response to the allegations contained in paragraph 20,

Defendant lacks knowledge or information sufficient to form a belief as to the

truth of this allegation and leaves Plaintiff to his proofs.

      21.    On January 28, 1994, Defendant Maynard took a statement from a

witness about the murders of Cornell and Gilliam.

      Response: In response to the allegations contained in paragraph 21,

Defendant lacks knowledge or information sufficient to form a belief as to the

truth of this allegation and leaves Plaintiff to his proofs.




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       22.    In the statement, when asked by Defendant Maynard who would

 want to harm Cornell, the witness responded by identifying the person later

 identified as the actual killer of Cornell and Gilliam.

       Response: In response to the allegations contained in paragraph 22,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       23.    In the statement, the witness told Defendant Maynard that the

 person later identified as the actual killer of Cornell and Gilliam had beaten

 Cornell a week earlier over an alleged burglary.

       Response: In response to the allegations contained in paragraph 23,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       24.    On January 28, 1994, an unknown DPD officer wrote a progress

 note identifying as a suspect the person later identified as the actual killer of

 Cornell and Gilliam.

       Response: In response to the allegations contained in paragraph 24,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       25.    On January 29, 1994, Defendant Collins took a statement from a

 witness about the murders of Cornell and Gilliam.


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       Response: In response to this paragraph, Defendant lacks knowledge or

 information sufficient to form a belief as to the truth of this allegation and

 leaves Plaintiff to his proofs.

       26.    In the statement, the witness described for Defendant Collins a

 suspect in the murders of Cornell and Gilliam which did not match the

 description of Ramon Ward but instead matched the description of the person

 later identified as the actual killer of Cornell and Gilliam.

       Response: In response to the allegations in paragraph 26, Defendant

 lacks knowledge or information sufficient to form a belief as to the truth of this

 allegation and leaves Plaintiff to his proofs.

       27.    During the statement, Defendant Collins asked the witness if he

 knew the person later identified as the actual killer of Cornell and Gilliam and

 the witness responded that he did not.

       Response: In response to the allegations contained in paragraph 27,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       28.    On April 20, 1994, at the direction of Defendant Childs, Defendant

 Jorgensen, Defendant Sanders, and Defendant Thomas arrested Ramon Ward

 and his brother for the murders of Cornell and Gilliam.




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       Response: In response to the allegations contained in paragraph 28,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       29.    There was no warrant for the arrest of Ramon Ward.

       Response: In response to the allegations contained in paragraph 29,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.



       30.    There were no facts to support either reasonable suspicion to

 detain or probable cause to arrest Ramon Ward for the murders of Cornell and

 Gilliam.

       Response: The allegations contained in paragraph 30 are denied as

 untrue in the form and manner alleged and in fact.

       31.    The DPD arrested at least two other suspects in the murders of

 Cornell and Gilliam prior to arresting Ramon Ward.

       Response: In response to the allegations contained in paragraph 31,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       32.    Defendant Jorgensen, Defendant Sanders, and Defendant Thomas

 conveyed Ramon Ward to DPD headquarters.


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       Response: In response to the allegations contained in paragraph 32,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       33.    Defendant Childs interrogated Ramon Ward at DPD headquarters

 on April 20, 1994.

       Response: In response to the allegations contained in paragraph 33,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       34.    Ramon Ward told Defendant Childs that he wanted a lawyer and

 did not want to talk to her.

       Response: In response to the allegations contained in paragraph 34,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       35.    Defendant Childs denied Ramon Ward’s request for a lawyer.

       Response: In response to the allegations contained in paragraph 35,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       36.    During Defendant Childs’ interrogation, Ramon Ward denied any

 involvement in the murders of Cornell and Gilliam.




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       Response: In response to the allegations contained in paragraph 36,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       37.    Ramon Ward provided Defendant Childs with a signed, written

 statement that he did not commit the murders of Cornell and Gilliam.

       Response: In response to the allegations contained in paragraph 37,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       38.    During Defendant Childs’ interrogation, Defendant Collins and DPD

 Lieutenant William Rice restrained Ramon Ward and used phone books to beat

 Mr. Ward below the neck.

       Response: In response to the allegations contained in paragraph 38,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       39.    After Defendant Childs’ interrogation, unknown DPD officers took

 Ramon Ward to a cell in the 9th floor lockup of DPD headquarters.

       Response: In response to the allegations contained in paragraph 39,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.




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       40.    Joe Twilley (“Twilley”) and Oliver Cowan (“Cowan”) also were

 being held in the 9th floor lockup of DPD headquarters on April 20, 1994.

       Response: In response to the allegations contained in paragraph 40,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       41.    Twilley and Cowan were violent felons.

       Response: In response to the allegations contained in paragraph 41,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       42.    Twilley and Cowan were trustees, who were able to leave their cells

 and move freely around the 9th floor lockup of DPD headquarters.

       Response: In response to the allegations contained in paragraph 42,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       43.    The WCPO and/or the DPD placed Twilley and Cowan in the 9th

 floor lockup of DPD headquarters, acting as agents of the WCPO and/or the

 DPD, for the purpose of obtaining false confessions from their fellow inmates in

 exchange for valuable incentives such as deals in their criminal cases, conjugal

 visits, drugs, and alcohol, as will be set forth in detail below.




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       Response: To the extent the allegations contained in paragraph 43

 pertain to this Defendant, same are denied as untrue in the form and manner

 alleged and in fact.

       44.   The WCPO and/or the DPD allowed Twilley and Cowan free access

 to other inmates for the purpose of obtaining the false confessions.

       Response: To the extent the allegations contained in paragraph 44

 pertain to this Defendant, same are denied as untrue in the form and manner

 alleged and in fact.

       45.   The WCPO and/or the DPD failed to supervise Twilley and Cowan

 as they obtained false confessions from other inmates.

       Response: To the extent the allegations contained in paragraph 45

 pertain to this Defendant, same are denied as untrue in the form and manner

 alleged and in fact.

       46.   The WCPO and/or the DPD did not care how Twilley and Cowan

 obtained false confessions from other inmates.

       Response: To the extent the allegations contained in paragraph 46

 pertain to this Defendant, same are denied as untrue in the form and manner

 alleged and in fact.

       47.   The WCPO and/or the DPD gave Twilley and Cowan drugs and

 alcohol.


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         Response: To the extent the allegations contained in paragraph 47

 pertain to this Defendant, same are denied as untrue in the form and manner

 alleged and in fact.

         48.   The WCPO and/or the DPD failed to screen Twilley and Cowan for

 weapons.

         Response: To the extent the allegations contained in paragraph 48

 pertain to this Defendant, same are denied as untrue in the form and manner

 alleged and in fact.

         49.   Ramon Ward had never met Twilley or Cowan prior to April 20,

 1994.

         Response: In response to the allegations contained in paragraph 49,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

         50.   On April 20, 1994, Twilley came to Ramon Ward’s cell and tried to

 engage Mr. Ward in conversation.

         Response: In response to the allegations contained in paragraph 50,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

         51.   Ramon Ward refused to engage Twilley in conversation and

 Twilley left Mr. Ward’s cell.


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       Response: In response to the allegations contained in paragraph 51,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       52.    Approximately 30-45 minutes later, Cowan came to Ramon Ward’s

 cell, threatened Mr. Ward, and sexually assaulted Mr. Ward while holding a

 makeshift glass knife to Mr. Ward’s neck.

       Response: In response to the allegations contained in paragraph 52,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       53.    No one from the WCPO or the DPD prevented Cowan’s sexual

 assault of Ramon Ward.

       Response: To the extent the allegations contained in paragraph 53

 pertain to this Defendant, same are denied as untrue in the form and manner

 alleged and in fact.

       54.    Ramon Ward never told Twilley or Cowan that he murdered

 Cornell and Gilliam.

       Response: In response to the allegations contained in paragraph 54,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.




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       55.    On April 21, 1994, Defendant Childs interrogated Ramon Ward for

 a second time.

       Response: In response to the allegations contained in paragraph 56,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       56.    Defendant Childs claimed that Ramon Ward during the April 21,

 1994 interrogation admitted to killing Cornell and Gilliam, and then denied

 killing them. 57. Ramon Ward never told Defendant Childs that he killed

 Cornell and Gilliam.

       Response: In response to the allegations contained in paragraph 56,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       57.    Ramon Ward never told Defendant Childs that he killed Cornell and

 Gilliam.

       Response: In response to the allegations contained in paragraph 57,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       58.    The criminal proceedings against Ramon Ward were in the State of

 Michigan Recorders Court for the City of Detroit and were captioned People of

 the State of Michigan vs. Ramon Ward, Recorders Court Number 94-4942.


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         Response: In response to the allegations contained in paragraph 58,

 Defendant admits the allegations upon information and belief.

         59.   A felony complaint was issued against Ramon Ward on April 23,

 1994.

         Response: In response to the allegations contained in paragraph 59,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

         60.   Defendant Childs was the complaining witness for the felony

 complaint.

         Response: In response to the allegations contained in paragraph 60,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

         61.   Defendant Maynard signed the felony complaint.

         Response: In response to the allegations contained in paragraph 61,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

         62.   Ramon Ward was arraigned on April 25, 1994 and Mr. Ward

 pleaded not guilty.




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        Response: In response to the allegations contained in paragraph 62,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

        63.   There was a Preliminary Examination Hearing in the criminal

 proceedings against Ramon Ward on May 5, 1994.

        Response: In response to the allegations contained in paragraph 63,

 Defendant responds, upon information and belief, admitted.

        64.   Defendant Westveld appeared for the WCPO at the Preliminary

 Examination Hearing.

 Response: In response to the allegations contained in paragraph 64,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

        65.   Defendant Westveld called Twilley to testify at the Preliminary

 Examination Hearing.

        Response: In response to the allegations contained in paragraph 65,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

        66.   Twilley falsely testified at the Preliminary Examination Hearing

 that




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       Response: In response to the allegations contained in paragraph 66,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       67.    Twilley falsely testified at the Preliminary Examination Hearing

 that he only once previously provided testimony in a criminal case against a

 defendant.

       Response: In response to the allegations contained in paragraph 67,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       68.    Twilley falsely testified at the Preliminary Examination Hearing

 that he was not promised anything by the WCPO or the DPD in exchange for his

 testimony.

       Response: In response to the allegations contained in paragraph 68,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       69.    Twilley admitted during the Preliminary Examination Hearing that

 he knew Defendant Childs and Defendant Collins.

       Response: In response to the allegations contained in paragraph 69,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.


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       70.    Cowan falsely testified at the Preliminary Examination Hearing

 that Ramon Ward confessed to killing Cornell and Gilliam.

       Response: In response to the allegations contained in paragraph 70,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       71.    Cowan falsely testified at the Preliminary Examination Hearing

 that he had only once or twice previously provided information about a

 criminal defendant.

       Response: In response to the allegations contained in paragraph 71,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       72.    Cowan falsely testified at the Preliminary Examination Hearing

 that he never received a benefit for providing information about a criminal

 defendant.

       Response: In response to the allegations contained in paragraph 72,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       73.    At the conclusion of the Preliminary Examination Hearing, the

 court bound Ramon Ward over for trial for the murder of Cornell and Gilliam.




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 Response: In response to the allegations contained in this paragraph,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       74.    Defendant Westveld never corrected Twilley and Cowan’s false

 testimony during the Preliminary Examination Hearing.

       Response: In response to the allegations contained in paragraph 74,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       75.    No one from the WCPO or the DPD ever corrected Twilley and

 Cowan’s false testimony from the Preliminary Examination Hearing.

       Response: In response to the allegations contained in paragraph 75,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       76.    On July 8, 1994, the State of Michigan Recorders Court for the City

 of Detroit held a hearing out of public view regarding Cowan acting as an

 informant for the WCPO and/or the DPD.

       Response: In response to the allegations contained in paragraph 76,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       77.    William Heaphy (“Heaphy”) appeared for the WCPO at the hearing.


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 Response: In response to the allegations contained in this paragraph,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

         78.   Heaphy agreed that the hearing should be conducted out of public

 view.

         Response: In response to the allegations contained in paragraph 78,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

         79.   During the hearing, DPD Sergeant William Peterson (“Peterson”)

 testified that Cowan helped with the murder case against Ramon Ward, which

 would have been unsolved forever without Cowan’s help.

         Response: In response to the allegations contained in paragraph 79,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

         80.   During the hearing, Peterson testified that there were six people

 incarcerated for murder who would not be without Cowan’s help.

         Response: In response to the allegations contained in paragraph 80,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.




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       81.    During the hearing, Peterson testified that he expected Cowan’s

 help with criminal cases in the future.

       Response: In response to the allegations contained in paragraph 81,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       82.    At the conclusion of the hearing, the court acknowledged that

 Cowan could be sentenced for five to fifteen years in his criminal case, but the

 court instead sentenced Cowan to one year of probation and one year in the

 William Dickerson Detention Facility on the condition of Cowan’s continued

 assistance in criminal cases.

       Response: In response to the allegations contained in paragraph 82,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       83.    Heaphy did not object to Cowan’s sentencing.

       Response: In response to the allegations contained in paragraph 83,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       84.    On July 27, 1994, the State of Michigan Recorders Court for the

 County of Wayne held a hearing out of public view regarding Twilley acting as

 an informant for the WCPO and/or the DPD.


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         Response: In response to the allegations contained in paragraph 84,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

         85.   Rosemary Gordon (“Gordon”) appeared for the WCPO at the

 hearing.

 Response: In response to the allegations contained in paragraph 85,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

         86.   Gordon agreed that the hearing should be conducted out of public

 view.

         Response: In response to the allegations contained in paragraph 86,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

         87.   During the hearing, Defendant Collins testified that Twilley had

 testified in at least 20 homicide cases.

         Response: In response to the allegations contained in paragraph 87,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

         88.   During the hearing, Defendant Collins testified that Twilley had

 assisted with numerous homicide investigations.


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         Response: In response to the allegations contained in paragraph 88,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

         89.   During the hearing, Defendant Collins testified that there were

 several homicide cases that could not have been prosecuted with Twilley’s

 testimony, including a recent homicide case.

         Response: In response to the allegations contained in paragraph 89,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

         90.   During the hearing, Gordon stated that Twilley had been extremely

 helpful to WCPO prosecutor Thomas Beadle (“Beadle”) in an arson/homicide

 case.

         Response: In response to the allegations contained in paragraph 90,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

         91.   During the hearing, Gordon stated that Beadle supported

 consideration for Twilley.

         Response: In response to the allegations contained in paragraph 91,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.


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       92.    During the hearing, Gordon stated that she learned from other

 people who worked for the WCPO that Twilley had come to court to testify on

 numerous occasions.

       Response: In response to the allegations in paragraph 92, Defendant

 lacks knowledge or information sufficient to form a belief as to the truth of this

 allegation and leaves Plaintiff to his proofs.

       93.    On July 29, 1994, the Recorders Court for Defendant County held a

 sentencing hearing for Twilley.

 Response: In response to the allegations contained in paragraph 93,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       94.    Michael J. King (“King”) appeared for the WCPO at the hearing.

 Response: In response to the allegations contained in paragraph 94,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       95.    During the hearing, the court re-sentenced Twilley to less than five

 years and ordered his immediate release so that he did not have to return to

 prison.




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       Response: In response to the allegations contained in paragraph 95,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       96.    King did not object to Twilley’s re-sentencing and his release from

 prison.

       Response: In response to the allegations contained in paragraph 96,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       97.    On September 2, 1994, there was an Evidentiary Hearing in the

 criminal proceedings against Ramon Ward.

       Response: In response to the allegations contained in paragraph 97,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       98.    Defendant Westveld appeared for the WCPO at the Evidentiary

 Hearing.

 Response: In response to the allegations in paragraph 98, Defendant lacks

 knowledge or information sufficient to form a belief as to the truth of this

 allegation and leaves Plaintiff to his proofs.




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       99.    During the hearing, Defendant Childs testified that Ramon Ward

 was arrested for the purpose of investigating the murders of Cornell and

 Gilliam.

       Response: In response to the allegations contained in paragraph 99,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       100. During the hearing Defendant Childs testified that the only

 information she had for the arrest of Ramon Ward was that Jimmie Lee Stancil

 (“Stancil”) implicated Mr. Ward in the murders of Cornell and Gilliam.

       Response: In response to the allegations contained in paragraph 100,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       101. When Stancil made the statement to Defendant Childs implicating

 Ramon Ward in the murders of Cornell and Gilliam, Stancil was in DPD custody

 and was a suspect in the murders of Cornell and Gilliam.

       Response: In response to the allegations contained in paragraph 101,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.




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       102. During the Evidentiary Hearing, Defendant Westveld never

 informed the Court or Ramon Ward that Twilley and Cowan had provided false

 testimony during the Preliminary Examination Hearing.

       Response: In response to the allegations contained in paragraph 102,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       103. During the Evidentiary Hearing, Defendant Westveld never

 informed the Court or Ramon Ward that Twilley and Cowan had received

 significant sentence reductions in their criminal cases in exchange for their

 testimony against criminal defendants including Mr. Ward.

       Response: In response to the allegations contained in paragraph 103,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       104. No one from the WCPO or the DPD ever informed the Court or

 Ramon Ward that Twilley and Cowan had received significant sentence

 reductions in their criminal cases in exchange for their testimony against

 criminal defendants including Mr. Ward.

       Response: In response to the allegations contained in paragraph 104,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.


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       105. The trial in the criminal proceedings against Ramon Ward began

 on January 24, 1995 and ended on January 26, 1995.

       Response: In response to the allegations contained in paragraph 105,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       106. Defendant Agacinski appeared for the WCPO at the trial.

       Response: In response to the allegations contained in paragraph 106,

 Defendant responds, upon information and belief, admitted.

       107. During the trial, witness Lenora Butchee (“Butchee”) testified that

 the DPD had arrested her for the murders of Cornell and Gilliam prior to

 arresting Ramon Ward and his brother.

       Response: In response to the allegations in paragraph 107, Defendant

 lacks knowledge or information sufficient to form a belief as to the truth of this

 allegation and leaves Plaintiff to his proofs.

       108. Defendant Agacinski called Twilley to testify at the trial.

       Response: In response to the allegations contained in paragraph 108,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       109. Twilley falsely testified at trial that Ramon Ward told him that he

 killed Cornell and Gilliam.


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       Response: In response to the allegations contained in paragraph 109,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       110. Twilley testified at trial that he gave a verbal statement to

 Defendant Childs implicating Ramon Ward in the murders of Cornell and

 Gilliam.

       Response: In response to the allegations contained in paragraph 110,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       111. Twilley testified at trial that he gave a written statement to

 Defendant Maynard implicating Ramon Ward in the murders of Cornell and

 Gilliam.

       Response: In response to the allegations contained in paragraph 111,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       112. Twilley falsely testified at trial that he received no deal for his

 statements and testimony against Ramon Ward.

       Response: In response to the allegations contained in paragraph 112,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.


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       113. During the trial, Defendant Agacinski read to the jury Cowan’s false

 testimony from the Preliminary Examination Hearing because Cowan had died

 prior to the trial.

       Response: In response to paragraph 113, Defendant lacks knowledge or

 information sufficient to form a belief as to the truth of this allegation and

 leaves Plaintiff to his proofs.

       114. Defendant Childs testified at trial that Defendant Collins was in

 charge of the investigation into the murders of Cornell and Gilliam.

       Response: In response to the allegations contained in paragraph 114,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       115. Defendant Childs testified at trial that she used the Constitutional

 Rights Certificate of Notification Form to advise Ramon Ward of his

 constitutional rights.

       Response: In response to the allegations contained in paragraph 115,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       116. Defendant Childs testified at trial that the spot on the

 Constitutional Rights Certificate of Notification Form to indicate that Ramon




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 Ward was literate, understood his constitutional rights, and agreed to make a

 voluntary statement was not signed or checked.

       Response: In response to the allegations contained in paragraph 116,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       117. Defendant Childs testified at trial that Ramon Ward was merely a

 suspect in the murders of Cornell and Gilliam when Mr. Ward was arrested.

       Response: In response to the allegations contained in paragraph 117,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       118. Stancil testified at trial that his prior statement to Defendant Childs

 about Ramon Ward admitting to the murders of Cornell and Gilliam was untrue.

       Response: In response to the allegations contained in paragraph 118,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       119. There was no evidence introduced at the trial linking Ramon Ward

 to the murders of Cornell and Gilliam, other than the false witness testimony.

       Response: The allegations contained in paragraph 119 are denied as

 untrue in the form and manner alleged and in fact.




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       120. At the conclusion of the trial, the jury found Ramon Ward guilty of

 the murders of Cornell and Gilliam.

       Response: In response to the allegations contained in paragraph 120,

 upon information and belief, Defendant admits same.

       121. During the trial, Defendant Agacinski never informed the Court or

 Ramon Ward that Twilley had provided false testimony at trial or that Cowan’s

 Preliminary Examination Hearing testimony was false.

       Response In response to the allegations contained in paragraph 121,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       122. No one from the WCPO or the DPD ever informed the Court or

 Ramon Ward that Twilley had provided false testimony at trial or that Cowan’s

 Preliminary Examination Hearing testimony was false.

       Response: In response to the allegations contained in paragraph 122,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       123. During the trial, Defendant Agacinski never informed the Court or

 Ramon Ward that Twilley and Cowan had received significant sentence

 reductions in their criminal cases in exchange for their testimony against

 criminal defendants including Mr. Ward.


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       Response: In response to the allegations contained in paragraph 123,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       124. No one from the WCPO or the DPD ever informed the Court or

 Ramon Ward that Twilley and Cowan had received significant sentence

 reductions in their criminal cases in exchange for their testimony against

 criminal defendants including Mr. Ward.

       Response: In response to the allegations contained in paragraph 124,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       125. In 1995, Defendant Agacinski was the Deputy Chief Assistant

 Prosecutor for the WCPO.

       Response: In response to the allegations contained in paragraph 125,

 Defendant responds, upon information and belief, admitted.

       126. In early 1995, several attorneys for criminal defendants expressed

 concerns to Defendant Agacinski about the practice of placing inmate

 informants in the DPD headquarters 9th floor lockup to obtain confessions

 from their fellow inmates.




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       Response: In response to the allegations contained in paragraph 126,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       127. In response to the concerns expressed by the attorneys, Defendant

 Agacinski wrote a memorandum to WCPO Chief of Operations Richard

 Padzieski (“Padzieski”) dated February 8, 1995.

       Response: In response to the allegations contained in paragraph 127,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       128. In the memorandum, Defendant Agacinski stated that he had been

 told that inmate informants lie about overhearing confessions and/or fabricate

 confessions to receive deals or favors promised to them.

       Response: In response to the allegations contained in paragraph 128,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       129. In the memorandum, Defendant Agacinski identified Twilley and

 Cowan as inmate informants who testified to fellow inmate confessions in

 several criminal cases.




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       Response: In response to the allegations contained in paragraph 129,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       130. In the memorandum, Defendant Agacinski stated that Twilley and

 Cowan obtained a confession in a criminal case Defendant Agacinski had tried

 the prior month, which likely was a reference to the Ramon Ward criminal case.

       Response: In response to the allegations contained in paragraph 130,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       131. In the memorandum, Defendant Agacinski also identified Solomon

 Tolbert (“Tolbert”) and John Hewitt-El (“Hewitt-El”) as individuals who acted

 as inmate informants.

       Response: In response to the allegations contained in paragraph 131,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       132. Defendant Agacinski never provided the memorandum to the

 Court in the criminal proceedings against Ramon Ward or to Mr. Ward.

       Response: In response to the allegations contained in paragraph 132,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.


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       133. No one from the WCPO ever provided the memorandum to the

 Court in the criminal proceedings against Ramon Ward or to Mr. Ward.

       Response: In response to the allegations contained in paragraph 133,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       134. On February 16, 1995, there was a Sentencing Hearing in the

 criminal proceedings against Ramon Ward.

       Response: In response to the allegations contained in paragraph 134,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       135. Defendant Agacinski appeared for the WCPO at the Sentencing

 Hearing.

       Response: In response to the allegations contained in paragraph 135,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       136. During the Sentencing Hearing, Ramon Ward maintained his

 innocence and expressed his hope that the real killers of Cornell and Gilliam

 would be brought to justice.




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       Response: In response to the allegations contained in paragraph 136,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       137. At the conclusion of the Sentencing Hearing, the Court sentenced

 Ramon Ward to life without parole for the first murder charge, 40 to 60 years

 for the second murder charge, and two years for a felony firearm charge.

       Response: In response to the allegations contained in paragraph 137,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       138. During the Sentencing Hearing, Defendant Agacinski never

 informed the Court or Ramon Ward that Twilley and Cowan had been identified

 as inmate informants who lie about overhearing confessions and/or fabricate

 confessions to receive deals or favors promised to them.

       Response: In response to the allegations contained in paragraph 138,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       139. During the Sentencing Hearing, no one from the WCPO or the DPD

 informed the Court or Ramon Ward that Twilley and Cowan had been identified

 as inmate informants who lie about overhearing confessions and/or fabricate

 confessions to receive deals or favors promised to them.


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       Response: In response to the allegations contained in paragraph 139,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       140. In response to Defendant Agacinski’s memo, WCPO Chief of

 Research, Training, and Appeals Timothy A. Baughman (“Baughman”) also

 wrote a memorandum to Padzieski dated March 1, 1995.

       Response: In response to the allegations contained in paragraph 140,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       141. In the memorandum, Baughman stated that inmate informants

 frequently provide false testimony of other inmates’ confessions to obtain

 compensation for their testimony.

       Response: In response to the allegations contained in paragraph 141,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       142. No one from the WCPO ever provided the Baughman memorandum

 to the Court in the criminal proceedings against Ramon Ward or to Mr. Ward.

       Response: In response to this paragraph, Defendant lacks knowledge or

 information sufficient to form a belief as to the truth of this allegation and

 leaves Plaintiff to his proofs.


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       143. On February 19, 1999, there was a Post-Conviction Remand

 Hearing in the criminal proceedings against Ramon Ward to determine

 whether there was probable cause for the arrest of Mr. Ward.

       Response: In response to the allegations contained in paragraph 143,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       144. Defendant Napp appeared for the WCPO at the Post-Conviction

 Remand Hearing.

       Response: In response to the allegations contained in paragraph 144,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       145. Stancil testified during the Post-Conviction Remand Hearing.

       Response: In response to the allegations contained in paragraph 145,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       146. Stancil testified at the Post-Conviction Remand Harding that he

 was under arrest as a suspect in the murders of Cornell and Gilliam when he

 falsely implicated Ramon Ward in the murders.




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       Response: In response to the allegations contained in paragraph 146,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       147. Stancil testified at the Post-Conviction Remand Hearing that

 Defendant Childs told him that Ramon Ward had implicated Stancil in the

 murders of Cornell and Gilliam.

       Response: In response to the allegations contained in paragraph 147,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       148. Defendant Childs testified during the Post-Conviction Remand

 Hearing.

       Response: In response to the allegations contained in paragraph 148,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       149. Defendants Childs testified at the Post-Conviction Remand Hearing

 that she arrested a number of suspects in the murders of Cornell and Gilliam,

 including Stancil, Butchee, Ramon Ward, and Mr. Ward’s brother.

       Response: In response to the allegations contained in paragraph 149,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.


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       150. Defendants Childs testified at the Post-Conviction Remand Hearing

 that Ramon Ward was the last person she arrested for the murders of Cornell

 and Gilliam.

       Response: In response to the allegations contained in paragraph 150,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       151. During the Post-Conviction Remand Hearing, Defendant Napp

 never informed the Court or Ramon Ward about Twilley and Cowan’s false

 testimony, the deals Twilley and Cowan received for their testimony, or the

 Agacinski and Baughman memorandums.

       Response: In response to the allegations contained in paragraph 151,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       152. On November 25, 2003, there was a Motion for Relief from

 Judgment Hearing in the criminal proceedings against Ramon Ward.

       Response: In response to the allegations contained in paragraph 152,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       153. Defendant Napp appeared for the WCPO at the Motion for Relief

 from Judgment Hearing.


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       Response: In response to the allegations contained in paragraph 153,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       154. Hewitt-El testified at the Motion for Relief from Judgment Hearing.

       Response: In response to the allegations contained in paragraph 154,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       155. Hewitt-El testified at the Motion for Relief from Judgment Hearing

 that Cowan told him that he could receive a deal in his murder case like Cowan

 and Twilley did if he helped in the Andre Grayson murder case.

       Response: In response to the allegations contained in paragraph 155,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       156. Hewitt-El testified at the Motion for Relief from Judgment Hearing

 that Twilley told him that the DPD gave Twilley information that Twilley could

 testify to in exchange for a plea deal in Twilley’s criminal case.

       Response: In response to the allegations contained in paragraph 156,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.




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       157. Hewitt-El testified at the Motion for Relief from Judgment Hearing

 that the DPD supplied him with the information that he could testify to in three

 different cases, but Hewitt-El took the Fifth Amendment as to whether he lied

 in the three cases.

       Response: In response to the allegations contained in paragraph 157,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       158. Hewitt-El testified at the Motion for Relief from Judgment Hearing

 that the DPD provided him with conjugal visits while in the 9th floor lockup of

 DPD headquarters in exchange for his help in the criminal cases.

       Response: In response to the allegations contained in paragraph 158,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       159. Hewitt-El testified at the Motion for Relief from Judgment Hearing

 that he received marijuana and alcohol while in the 9th floor lockup of DPD

 headquarters in exchange for his help in the criminal cases.

       Response: In response to the allegations contained in paragraph 159,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.




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       160. Defendant Collins testified at the Motion for Relief from Judgment

 Hearing.

       Response: In response to the allegations contained in paragraph 160,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       161. Defendant Collins testified at the Motion for Relief from Judgment

 Hearing that Twilley provided assistance in 20 homicide cases.

       Response: In response to the allegations contained in paragraph 161,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       162. During the Motion for Relief from Judgment Hearing, Defendant

 Napp never informed the Court or Ramon Ward about Twilley and Cowan’s

 false testimony, the deals Twilley and Cowan received for their testimony, or

 the Agacinski and Baughman memorandums.

       Response: In response to the allegations contained in paragraph 162,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       163. Eventually the WCPO Conviction Integrity Unit conducted a review

 of the criminal proceedings against Ramon Ward.




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       Response: In response to the allegations contained in paragraph 163,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       164. Following the review, the WCPO agreed that Ramon Ward’s

 criminal convictions should be voided.

       Response: In response to the allegations contained in paragraph 164,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       165. On February 20, 2020, the criminal proceedings against Ramon

 Ward terminated in Mr. Ward’s favor when the Wayne County Circuit Court

 issued an order vacating the convictions and sentences against Mr. Ward and

 dismissing all charges against Mr. Ward.

       Response: The allegations contained in paragraph 165 are denied as

 untrue in the form and manner alleged and in fact.

       166. After 25 years and 10 months, Ramon Ward was finally released

 from prison.

       Response: In response to the allegations contained in paragraph 166,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.




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       167. The conduct of Defendant Agacinski, Defendant Westveld,

 Defendant Napp, Defendant Childs, Defendant Maynard, Defendant Collins,

 Defendant Jorgensen, Defendant Sanders, Defendant Thomas, and Defendant

 Unknown Employees of the Wayne County Prosecutor’s Office and the Detroit

 Police Department, as set forth in the preceding paragraphs, was done under

 color of law and was within the course and scope of their employment with the

 WCPO and the DPD.

       Response: In response to the allegations contained in paragraph 167,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       168. The conduct of Defendant Agacinski, Defendant Westveld,

 Defendant Napp, Defendant Childs, Defendant Maynard, Defendant Collins,

 Defendant Jorgensen, Defendant Sanders, Defendant Thomas, and Defendant

 Unknown Employees of the Wayne County Prosecutor’s Office and the Detroit

 Police Department, as set forth in the preceding paragraphs, resulted in

 damages and injuries to Ramon Ward, including but not limited to loss of

 liberty, physical injury and sickness, and severe emotional pain and suffering.

       Response: To the extent the allegations contained in paragraph 168

 pertain to this Defendant and Defendants Agacinski, Westveld and Napp, same

 are denied as untrue in the form and manner alleged and in fact.


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       169. The conduct of Defendant Agacinski, Defendant Westveld,

 Defendant Napp, Defendant Childs, Defendant Maynard, Defendant Collins,

 Defendant Jorgensen, Defendant Sanders, Defendant Thomas, and Defendant

 Unknown Employees of the Wayne County Prosecutor’s Office and the Detroit

 Police Department, as set forth in the preceding paragraphs, was a proximate

 cause of Ramon Ward’s damages and injuries.

       Response: To the extent the allegations contained in paragraph 169

 pertain to this Defendant and Defendants Agacinski, Westveld and Napp, same

 are denied as untrue in the form and manner alleged and in fact.

       170. The conduct of Defendant Agacinski, Defendant Westveld,

 Defendant Napp, Defendant Childs, Defendant Maynard, Defendant Collins,

 Defendant Jorgensen, Defendant Sanders, Defendant Thomas, and Defendant

 Unknown Employees of the Wayne County Prosecutor’s Office and the Detroit

 Police Department, as set forth in the preceding paragraphs, was objectively

 unreasonable, intentional, purposeful, knowing, willful, wanton, and/or

 reckless, and was undertaken with malice and/or reckless disregard of Ramon

 Ward’s constitutional rights.

       Response: To the extent the allegations contained in paragraph 170

 pertain to this Defendant and Defendants Agacinski, Westveld and Napp, same

 are denied as untrue in the form and manner alleged and in fact.


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  Facts Pertaining to Defendant County’s Unconstitutional Policy and/or
  Custom of the WCPO Obtaining False Statements and False Testimony
   for Use Against Criminal Defendants and Concealing the Fact that the
     Statements and Testimony Were False from Courts and Criminal
                               Defendants


       171. The policymakers for Defendant County and the WCPO are the

 Wayne County Executive, the Wayne County Commission, and/or the Wayne

 County Prosecuting Attorney.

       Response: In response to the allegations contained in paragraph 171,

 same are denied as untrue in the form and manner alleged in fact and law.

       172. As will be set forth below, Defendant County had/has a policy of

 the WCPO obtaining false statements and false testimony for use against

 criminal defendants.

       Response: In response to the allegations contained in paragraph 172,

 same are denied as untrue in the form and manner alleged and in fact.

       173. As will be set forth below, Defendant County had/has a custom of

 tolerance and/or acquiescence of the WCPO obtaining false statements and

 false testimony for use against criminal defendants.

       Response: In response to the allegations contained in paragraph 173,

 same are denied as untrue in the form and manner alleged and in fact.




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       174. Defendant County’s policymakers were/are aware of the policy

 and/or custom of the WCPO obtaining false statements and false testimony

 for use against criminal defendants prior to and after the constitutional

 violations suffered by Ramon Ward, but have failed to take action to remedy

 the problem.

       Response: In response to the allegations contained in paragraph 174,

 same are denied as untrue in the form and manner alleged and in fact.

       175. As will be set forth below, Defendant County had/has a policy of

 the WCPO concealing the fact that the statements and testimony were false

 from courts and criminal defendants.

       Response: In response to the allegations contained in paragraph 175,

 same are denied as untrue in the form and manner alleged and in fact.

       176. As will be set forth below, Defendant County had/has a custom of

 tolerance and/or acquiescence of the WCPO concealing the fact that the

 statements and testimony were false from courts and criminal defendants.

       Response: In response to the allegations contained in paragraph 176,

 same are denied as untrue in the form and manner alleged and in fact.

       177. Defendant County’s policymakers were/are aware of the policy

 and/or custom of the WCPO. concealing the fact that the statements and

 testimony were false from courts and criminal defendants prior to and after the


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 constitutional violations suffered by Ramon Ward, but have failed to take action

 to remedy the problem.

       Response: In response to the allegations contained in paragraph 177,

 same are denied as untrue in the form and manner alleged and in fact.

       178. The WCPO and the DPD had/have a pattern and practice where

 inmate informants were/are planted in the DPD headquarters 9th floor lockup

 to lie by claiming that their fellow inmates confessed to crimes.

       Response: To the extent it pertains to this Defendant, the allegations

 contained in paragraph 178 are denied as untrue in the form and manner

 alleged and in fact.

       179. The WCPO and the DPD have used these fabricated confessions

 against criminal defendants to bolster weak cases, such as the case against

 Ramon Ward.

       Response: To the extent it pertains to this Defendant, the allegations

 contained in paragraph 179 are denied as untrue in the form and manner

 alleged and in fact.

       180. The WCPO and the DPD have used these fabricated confessions to

 obtain criminal convictions in cases where the conviction could not have been

 obtained without the fabricated confessions, such as the case against Ramon

 Ward.


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       Response: To the extent it pertains to this Defendant, the allegations

 contained in paragraph 180 are denied as untrue in the form and manner

 alleged and in fact.

       181. The WCPO and the DPD did not use these fabricated confessions for

 the purpose of bringing criminal offenders to justice, but instead to obtain

 criminal convictions regardless of innocence, such as the case against Ramon

 Ward.

       Response: To the extent it pertains to this Defendant, the allegations

 contained in paragraph 181 are denied as untrue in the form and manner

 alleged and in fact.

       182. The WCPO called the inmate informants to falsely testify about the

 fabricated confessions at the criminal trials of their fellow inmates, such as the

 case against Ramon Ward.

       Response: To the extent it pertains to this Defendant, the allegations

 contained in paragraph 182 are denied as untrue in the form and manner

 alleged and in fact.

       183. The WCPO and the DPD concealed the fact that the confessions

 were fabricated from courts and criminal defendants, such as the case against

 Ramon Ward.




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       Response: To the extent it pertains to this Defendant, the allegations

 contained in paragraph 183 are denied as untrue in the form and manner

 alleged and in fact.

       184. The WCPO and/or the DPD provided favors and/or lenient

 treatment to the inmate informants in exchange for the informants fabricating

 confessions from their fellow inmates and/or for falsely testifying to the

 fabricated confessions.

       Response: To the extent it pertains to this Defendant, the allegations

 contained in paragraph 184 are denied as untrue in the form and manner

 alleged and in fact.

       185. Inmate informants housed at the DPD headquarters 9th floor

 lockup received favors not available at the jail or to non-informants at the

 lockup in exchange for the informants’ false statements and/or false testimony.

       Response: In response to the allegations contained in paragraph 185,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       186. Inmate informants have been able to have outside visitors bring

 them food and drugs.




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       Response: In response to the allegations contained in paragraph 186,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       187. Inmate informants have been able to invite guests to the DPD

 headquarters for conjugal visits.

       Response: In response to the allegations contained in paragraph 187,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       188. Twilley is an example of an inmate informant to whom the WCPO

 and/or the DPD gave leniency in exchange for fabricated inmate confessions.

       Response: To the extent it pertains to this Defendant, the allegations

 contained in paragraph 188 are denied as untrue in the form and manner

 alleged and in fact.

       189. Twilley provided false statements and/or false testimony in

 approximately 20 homicide cases prosecuted by the WCPO and the DPD.

       Response: In response to the allegations contained in paragraph 189,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.




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       190. In exchange for acting as an inmate informant, the WCPO and the

 DPD agreed that Twilley’s criminal sentence of 12-25 years should be reduced

 to less than five years and that Twilley be released from custody.

       Response: To the extent the allegations contained in paragraph 190,

 pertain to this Defendant, same are denied as untrue in the form and manner

 alleged and in fact. As to the remainder of the allegations, contained in this

 paragraph, Defendant lacks knowledge or information sufficient to form a belief

 as to the truth of same and leaves Plaintiff to his proofs.

       191. Another example of inmate informants to whom the WCPO and/or

 the DPD gave leniency in exchange for fabricated inmate confessions is Cowan.

       Response: To the extent the allegations contained in paragraph 191,

 pertain to this Defendant, same are denied as untrue in the form and manner

 alleged and in fact. As to the remainder of the allegations, contained in this

 paragraph, Defendant lacks knowledge or information sufficient to form a belief

 as to the truth of same and leaves Plaintiff to his proofs.

       192. Cowan falsely testified in six murder cases prosecuted by the

 WCPO and the DPD.

       Response: In response to the allegations contained in paragraph 192,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.


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       193. In exchange for acting as an inmate informant, the WCPO and the

 DPD agreed that Cowan’s possible criminal sentence of 5-15 years be limited to

 only one year in jail and one year of probation.

       Response: To the extent the allegations contained in paragraph 193,

 pertain to this Defendant, same are denied as untrue in the form and manner

 alleged and in fact. As to the remainder of the allegations, contained in this

 paragraph, Defendant lacks knowledge or information sufficient to form a belief

 as to the truth of same and leaves Plaintiff to his proofs.

       194. Edward Chico Allen (“Allen”) is another inmate informant for the

 WCPO and/or the DPD.

       Response: In response to the allegations contained in paragraph 194,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       195. The WCPO and/or the DPD provided Allen with immunity from

 prosecution, sexual favors, drugs, food, and/or money in exchange for Allen’s

 false statements and false testimony.

       Response: To the extent the allegations contained in paragraph 195

 pertain to this Defendant, same are denied as untrue in the form and manner

 alleged and in fact. As to the remainder of the allegations, Defendant is without




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 knowledge or information sufficient to form a belief as to the truth of those

 allegations and leaves Plaintiff to his proofs.

       196. Allen provided false statements and false testimony in the murder

 case against Larry Smith and numerous other murder cases for the WCPO

 and/or the DPD.

       Response: In response to the allegations contained in paragraph 196,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       197. Allen was shown police reports so that he could falsely state and

 testify that his fellow inmates confessed to the information contained in the

 police reports.

       Response: To the extent the allegations contained in paragraph 197,

 pertain to this Defendant, same are denied as untrue in the form and manner

 alleged and in fact.

       198. Another example of inmate informants to whom the WCPO and/or

  the DPD gave leniency in exchange for inmate confessions is Hewitt-El.

       Response: To the extent the allegations contained in paragraph 198,

 pertain to this Defendant, same are denied as untrue in the form and manner

 alleged and in fact. As to the remainder of the allegations, contained in this




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 paragraph, Defendant lacks knowledge or information sufficient to form a belief

 as to the truth of this allegation and leaves Plaintiff to his proofs.

       199. Hewitt-El falsely testified in three or four murder cases prosecuted

 by the WCPO and the DPD.

       Response: To the extent the allegations contained in paragraph 199,

 pertain to this Defendant, same are denied as untrue in the form and manner

 alleged and in fact. As to the remainder of the allegations, contained in this

 paragraph, Defendant lacks knowledge or information sufficient to form a belief

 as to the truth of this allegation and leaves Plaintiff to his proofs.

       200. On September 6, 1995, attorney William Daniel (“Daniel”) sent a

 letter to WCPO Chief Prosecuting Attorney John O’Hair (“O’Hair”) about Hewitt

 El’s false testimony.

       Response: In response to the allegations contained in paragraph 200,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       201. In the letter Daniel stated that he was the attorney for Anton Mann

 (“Mann”) who was charged with murder by WCPO attorney Tom Dawson

 (“Dawson”).




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       Response: In response to the allegations contained in paragraph 201,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       202. In the letter, Daniel stated that Dawson told him to speak to Mary

 O’Connell (“O’Connell”) who was the attorney for Hewitt-El.

       Response: In response to the allegations contained in paragraph 202,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       203. In the letter, Daniel stated that Hewitt-El testified during a

 Preliminary Examination Hearing that Mann had confessed to the murder when

 Mann and Hewitt-El were both in custody at the 9th floor lockup of DPD

 headquarters.

       Response: In response to the allegations contained in paragraph 203,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       204. In the letter, Daniel stated that O’Connell told him that Hewitt-El

 recanted his testimony about Mann’s admission and would take the Fifth

 Amendment at Mann’s trial.




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       Response: In response to the allegations contained in paragraph 204,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       205. In the letter, Daniel stated that O’Connell told him that Hewitt-El is

 a witness in three or four other murder cases where Hewitt-El falsely claimed

 that the defendants had confessed to the murders to Hewitt-El while they were

 in custody at the 9th floor lockup of DPD headquarters.



       Response: In response to the allegations contained in paragraph 205,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       206. In the letter, Daniel stated that he spoke with attorneys Robert

 Slameka and Ben Gorek who also represented clients whom Hewitt-El falsely

 testified against.

       Response: In response to the allegations contained in paragraph 206,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       207. Daniel concluded the letter by stating that he was seeking the

 WCPO’s guidance and to raise concern about fabricated confessions on behalf

 of his client, as an officer of the court, and as a citizen of the community.


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       Response: In response to the allegations contained in paragraph 207,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       208. In 1998, Hewitt-El wrote a letter to an individual named Islam

 Lacino-X.

       Response: In response to the allegations contained in paragraph 208,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       209. In the letter, Hewitt-El identified Twilley, Cowan, Allen Bey, and an

 individual named Terry as inmate informants in the 9th floor lockup at DPD

 headquarters.

       Response: In response to the allegations contained in paragraph 209,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       210. In the letter, Hewitt El stated that both the DPD and the WCPO

 knew about inmate informants in the 9th floor lockup at DPD headquarters

 providing false confessions in exchange for favors and deals.

       Response: In response to the allegations contained in paragraph 210,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.


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       211. On June 27, 2001, Hewitt-El signed an affidavit regarding his false

 testimony in criminal cases.

       Response: In response to the allegations contained in paragraph 211,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       212. In the affidavit, Hewitt-El stated that DPD detectives from the

 homicide unit promised to help him if he testified to overhearing confessions

 from his fellow inmates in the 9th floor lockup of DPD headquarters.

       Response: In response to the allegations contained in paragraph 212,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       213. In the affidavit, Hewitt-El stated that DPD detectives from the

 homicide unit provided him with the information he would need to testify.

       Response: In response to the allegations contained in paragraph 213,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       214. Numerous individuals have been wrongfully convicted as a result

 of Defendant County’s widespread policy and/or custom of the WCPO obtaining

 false statements and false testimony for use against criminal defendants and

 concealing the fact that the statements and testimony were false from courts


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 and criminal defendants, including but not limited to Ramon Ward and the

 additional examples set forth below.

       Response: In response to the allegations contained in paragraph 214,

 same are denied as untrue in the form and manner alleged and in fact.

       215. Bernard Howard was wrongfully convicted of murder based upon

 an inmate informant’s false statement that Mr. Howard’s co-defendants had

 implicated Mr. Howard in the crime.

       Response: In response to the allegations contained in paragraph 215,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       216. Larry Smith was wrongfully convicted of murder based upon the

 false testimony from an inmate informant that Mr. Smith had confessed to the

 crime.

       Response: In response to the allegations contained in paragraph 216,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       217. Lacino Hamilton was wrongfully convicted of murder based upon

 the false testimony from an inmate informant that Mr. Hamilton had confessed

 to the crime.




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       Response: In response to the allegations contained in paragraph 217,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       218. Defendant County’s policy and/or custom of the WCPO obtaining

 false statements and false testimony for use against criminal defendants and

 concealing the fact that the statements and testimony were false from courts in

 criminal cases and from criminal defendants was and/or is so persistent and

 widespread that 27 wrongfully-convicted individuals who spent a total of 415

 years wrongfully imprisoned have been exonerated since 2018.

       Response: In response to the allegations contained in paragraph 218,

 same are denied as untrue in the form and manner alleged and in fact.

       219. In 2020, a total of 120 wrongfully-convicted individuals were

 exonerated in the entire United States of America.

       Response: In response to the allegations contained in paragraph 219,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

       220. Defendant County and its policymakers had/have actual

 knowledge of the policy and/or custom of the WCPO obtaining false statements

 and false testimony for use against criminal defendants and concealing the fact




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 that the statements and testimony were false from courts and criminal

 defendants, yet have taken no action to remedy the problems.

       Response: In response to the allegations contained in paragraph 220,

 same are denied as untrue in the form and manner alleged and in fact.

       221. Defendant County and its policymakers approved the policy

 and/or custom of the WCPO obtaining false statements and false testimony for

 use against criminal defendants and concealing the fact that the statements and

 testimony were false from courts and criminal defendants, and were

 deliberately indifferent to the resulting constitutional violations including, but

 not limited to, unlawful arrests, unlawful detentions pursuant to legal process,

 the use of fabricated evidence at criminal trials, concealment of exculpatory

 evidence at criminal trials, and malicious prosecutions.

       Response: In response to the allegations contained in paragraph 221,

 same are denied as untrue in the form and manner alleged and in fact.

       222. Defendant County and its policymakers disregarded the known

 and obvious consequence of the constitutional violations that resulted from the

 policy and/or custom of the WCPO obtaining false statements and false

 testimony for use against criminal defendants and concealing the fact that the

 statements and testimony were false from courts and criminal defendants.




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       Response: In response to the allegations contained in paragraph 222,

 same are denied as untrue in the form and manner alleged and in fact.

       223. Defendant County’s policy and/or custom of the WCPO obtaining

 false statements and false testimony for use against criminal defendants and

 concealing the fact that the statements and testimony were false from courts

 and criminal defendants was a proximate cause of Ramon Ward’s damages and

 injuries.

       Response: In response to the allegations contained in paragraph 223,

 same are denied as untrue in the form and manner alleged and in fact.

       224. Defendant County’s policy and/or custom of the WCPO obtaining

 false statements and false testimony for use against criminal defendants and

 concealing the fact that the statements and testimony were false from courts

 and criminal defendants may continue to this day.

       Response: In response to the allegations contained in paragraph 224,

 same are denied as untrue in the form and manner alleged and in fact.

       225. The Fourth Amendment to the United States Constitution provides

 in pertinent part that “The right of the people to be secure in their persons …

 against unreasonable searches and seizures, shall not be violated, and no

 Warrants shall issue, but upon probable cause … particularly describing the




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 place to be searched, and the persons or things to be seized.” U.S. Const. Amend.

 IV.

       Response: The statements contained in paragraph 225 are legal

 conclusions as opposed to well-pled allegations of fact and, therefore, no

 response is required. To the extent a response is required, Defendant denies

 the violation of the Fourth Amendment as it pertains to this Plaintiff.

       226. The Fourteenth Amendment to the United States Constitution

 provided in pertinent part that no State shall “deprive any person of life, liberty,

 or property, without due process of law.” U.S. Const. Amend. XIV, §1.

       Response: The statements contained in paragraph 226 are legal

 conclusions as opposed to well-pled allegations of fact and, therefore, no

 response is required. To the extent a response is required, Defendant denies

 the violation of the Fourteenth Amendment as it pertains to this Plaintiff.

       227. Title 42 of the United States Code, Section 1983 provides that

 “Every person who, under color of any statute, ordinance, regulation, custom,

 or usage, of any State or Territory or the District of Columbia, subjects or causes

 to be subjected, any citizen of the United States or other person within the

 jurisdiction thereof to the deprivation of any rights, privileges, or immunities

 secured by the Constitution and laws, shall be liable to the party injured in an




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 action at law, suit in equity, or other proper proceedings for redress.” 42 U.S.C.

 §1983.

       Response: The statements contained in paragraph 227 are legal

 conclusions as opposed to well-pled allegations of fact and, therefore, no

 response is required. To the extent a response is required, Defendant denies

 the violation of 42 U.S.C. §1983 as it pertains to this Plaintiff.




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                                CAUSES OF ACTION

                 COUNT I: 42 U.S.C. §1983 – False Arrest
    Against Defendant Childs, Defendant Jorgensen, Defendant Sanders
                        And Defendant Thomas

        228. Defendant incorporates by reference its answers to paragraphs 1-

 227 of Plaintiff’s Complaint as though fully set forth herein.

        229. The above-named individual Defendants arrested Ramon Ward.

        Response: In response to the allegations contained in paragraph 229,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

        230. There was no probable cause to arrest Ramon Ward.

        Response: The allegations contained in paragraph 230 are denied as

 untrue in the form and manner alleged and in fact.

        231. The above-named individual Defendants acted under of color of

 law.

        Response: In response to the allegations contained in paragraph 231,

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of this allegation and leaves Plaintiff to his proofs.

        232. The arrest of Ramon Ward resulted in damages and injuries to Mr.

 Ward.




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        Response: To the extent the allegations contained in paragraph 232

 pertain to this Defendant, same are denied as untrue in the form and manner

 alleged and in fact.

     COUNT II: 42 U.S.C. §1983 – Unlawful Detention Pursuant to Legal
   Process Against Defendant Agacinski, Defendant Westveld, Defendant
      Napp, Defendant Childs, Defendant Maynard, Defendant Collins,
     Defendant Jorgensen, Defendant Sanders, and Defendant Thomas


        233. Defendant incorporates by reference its answers to paragraphs 1-

 232 of Plaintiff’s Complaint as though fully set forth herein.

        234. Ramon Ward was detained pursuant to legal process based upon

 evidence fabricated by the above-named individual Defendants and

 exculpatory evidence concealed by the above-named individual Defendants.

        Response: To the extent the allegations contained in paragraph 234

 pertain to this Defendant and/or Defendants Agacinski, Napp and Westveld,

 same are denied as untrue in the form and manner alleged and in fact.

        235. There was neither probable cause nor reasonable suspicion to

 detain Ramon Ward.

        Response: The allegations contained in paragraph 235 are denied as

 untrue in the form and manner alleged and in fact.

        236. The above-named individual Defendants acted under of color of

 law.


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       Response: In response to the allegations contained in paragraph 236,

 Defendant is without knowledge or information sufficient to form a belief as to

 the truth of same and leaves Plaintiff to his proofs.

       237. The unlawful detention of Ramon Ward resulted in damages and

 injuries to Mr. Ward.

       Response: To the extent the allegation contained in paragraph 237

 pertains to this Defendant, same are denied as untrue in the form and manner

 alleged and in fact.

       238. The unlawful detention of Ramon Ward was undertaken pursuant

 to Defendant County’s policy and/or custom of the WCPO obtaining false

 statements and false testimony for use against criminal defendants and

 concealing the fact that the statements and testimony were false from courts

 and criminal defendants, as set forth above.

       Response: In response to the allegations contained in paragraph 238,

 same are denied as untrue in the form and manner alleged and in fact.

          COUNT III: 42 U.S.C. §1983 – Due Process/Fair Trial:
          Fabrication of Evidence and Suppression of Evidence
   Against Defendant Agacinski, Defendant Westveld, Defendant Napp,
   Defendant Childs, Defendant Maynard, Defendant Collins, Defendant
         Jorgensen, Defendant Sanders, and Defendant Thomas

       239. Defendant incorporates by reference its answers to paragraphs 1-

 238 of Plaintiff’s Complaint as though fully set forth herein.


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       240. The above-named individual Defendants knowingly fabricated

 evidence that was used against Ramon Ward at his criminal trial.

       Response: To the extent the allegations contained in paragraph 240

 pertain to this Defendant and Defendants Agacinski, Westveld and Napp, same

 are denied as untrue in the form and manner alleged and in fact.     As to the

 remainder of the allegations, Defendant is without knowledge or information

 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.

       241. The evidence fabricated by the above-named individual

 Defendants affected the decision of the jury which convicted Ramon Ward.

       Response: To the extent the allegations contained in paragraph 241

 pertain to this Defendant and Defendants Agacinski, Westveld and Napp, same

 are denied as untrue in the form and manner alleged and in fact.     As to the

 remainder of the allegations, Defendant is without knowledge or information

 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.

       242. The above-named individual Defendants suppressed evidence

 favorable to Ramon Ward.

       Response: To the extent the allegations contained in paragraph 242

 pertain to this Defendant and Defendants Agacinski, Westveld and Napp, same


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 are denied as untrue in the form and manner alleged and in fact.       As to the

 remainder of the allegations, Defendant is without knowledge or information

 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.

       243. The suppressed evidence was material to the guilt and punishment

 of Ramon Ward.

       Response: To the extent the allegations contained in paragraph 243

 pertain to this Defendant and Defendants Agacinski, Westveld and Napp, same

 are denied as untrue in the form and manner alleged and in fact.       As to the

 remainder of the allegations, Defendant is without knowledge or information

 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.

       244. The above-named individual Defendants acted under color of law.

       Response: The allegations contained in paragraph 244 do not pertain to

 this Defendant and, therefore, no response is required. To the extent a response

 is required, Defendant is without knowledge or information sufficient to form

 a belief as to the truth of same and leaves Plaintiff to his proofs.

       245. The fabrication of evidence and suppression of evidence by the

 abovenamed individual Defendants resulted in damages and injuries to Ramon

 Ward.


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       Response: To the extent the allegations contained in paragraph 245

 pertain to this Defendant and Defendants Agacinski, Westveld and Napp, same

 are denied as untrue in the form and manner alleged and in fact.     As to the

 remainder of the allegations, Defendant is without knowledge or information

 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.

       246. The fabrication of evidence against Ramon Ward and the

 suppression of evidence favorable to Mr. Ward was undertaken pursuant to

 Defendant County’s policy and/or custom of the WCPO obtaining false

 statements and false testimony for use against criminal defendants and

 concealing the fact that the statements and testimony were false from courts

 and criminal defendants, as set forth above.

       Response: In response to the allegations contained in paragraph 246,

 same are denied as untrue in the form and manner alleged and in fact.

           COUNT IV: 42 U.S.C. §1983 – Malicious Prosecution
   Against Defendant Agacinski, Defendant Westveld, Defendant Napp,
   Defendant Childs, Defendant Maynard, Defendant Collins, Defendant
         Jorgensen, Defendant Sanders, and Defendant Thomas

       247. Defendant incorporates by reference its answers to paragraphs 1-

 246 of Plaintiff’s Complaint as though fully set forth herein.




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       248. A criminal proceeding was initiated against Ramon Ward and the

 above-named individual Defendants made, influenced, and/or participated in

 the decision to prosecute.

       Response: To the extent it pertains to this Defendant, the allegations

 contained in paragraph 248 are denied as untrue in the form and manner

 alleged and in fact.

       249. There was a lack of probable cause for the criminal prosecution

 against Ramon Ward.

       Response: In response to the allegations contained in paragraph 249,

 same are denied as untrue in the form and manner alleged and in fact.

       250. As a consequence of the legal proceeding, Ramon Ward suffered a

 deprivation of liberty apart from the initial seizure.

       Response: In response to the allegations contained in paragraph 250,

 Defendant is without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained therein and leave Plaintiff to his proofs.

       251. The criminal proceedings against Ramon Ward have been resolved

 in Mr. Ward’s favor.

       Response: In response to the allegations contained in paragraph 251,

 same are denied as untrue in the form and manner alleged and in fact.




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       252. The malicious prosecution by the above-named individual

 Defendants resulted in damages and injuries to Ramon Ward.

       Response: In response to the allegations contained in paragraph 252,

 same are denied as untrue in the form and manner alleged and in fact.

       253. The malicious prosecution of Ramon Ward was undertaken

 pursuant to Defendant County’s policy and/or custom of the WCPO obtaining

 false statements and false testimony for use against criminal defendants and

 concealing the fact that the statements and testimony were false from courts

 and criminal defendants, as set forth above.

       Response: In response to the allegations contained in paragraph 253,

 same are denied as untrue in the form and manner alleged and in fact.

                 COUNT V: 42 U.S.C. §1983 – Conspiracy
   Against Defendant Agacinski, Defendant Westveld, Defendant Napp
   Defendant Childs, Defendant Maynard, Defendant Collins, Defendant
         Jorgensen, Defendant Sanders, and Defendant Thomas

       254. Defendant incorporates by reference its answers to paragraphs 1-

 253 Plaintiff’s Complaint as though fully set forth herein.

       255. The above-named individual Defendants had a single plan to

 convict Ramon Ward for the murders of Cornell and Gilliam.

       Response: To the extent the allegations contained in paragraph 255

 pertain to this Defendant and/or Defendants Agacinski, Westveld and Napp,



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 same are denied as untrue in the form and manner alleged and in fact. As to the

 remainder of the allegations, Defendant is without knowledge or information

 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.

       256. The above-named individual Defendants shared a conspiratorial

 objective to deprive Ramon Ward of his constitutional rights.

       Response: To the extent the allegations contained in paragraph 256

 pertain to this Defendant and/or Defendants Agacinski, Westveld and Napp,

 same are denied as untrue in the form and manner alleged and in fact. As to the

 remainder of the allegations, Defendant is without knowledge or information

 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.

       257. The above-named individual Defendants committed overt acts in

 furtherance of the conspiracy.

       Response: To the extent the allegations contained in paragraph 257

 pertain to this Defendant and/or Defendants Agacinski, Westveld and Napp,

 same are denied as untrue in the form and manner alleged and in fact. As to the

 remainder of the allegations, Defendant is without knowledge or information

 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.


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       258. The above-named individual Defendants acted under color of law.

       Response: The allegations contained in paragraph 258 do not pertain to

 this Defendant and, therefore, no response is required. To the extent a response

 is required, Defendant is without knowledge or information sufficient to form

 a belief as to the truth of same and leaves Plaintiff to his proofs.

       259. The conspiracy to deprive Ramon Ward of his constitutional rights

 resulted in damages and injuries to Mr. Ward.

       Response: To the extent the allegations contained in paragraph 259

 pertain to this Defendant and/or Defendants Agacinski, Westveld and Napp,

 same are denied as untrue in the form and manner alleged and in fact. As to the

 remainder of the allegations, Defendant is without knowledge or information

 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.

       260. The conspiracy to deprive Ramon Ward of his constitutional rights

 was undertaken pursuant to Defendant County’s policy and/or custom of the

 WCPO obtaining false statements and false testimony for use against criminal

 defendants and concealing the fact that the statements and testimony were

 false from courts and criminal defendants, as set forth above.




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       Response: In response to the allegations contained in paragraph 260,

 same are denied as untrue in the form and manner alleged and in fact.

             COUNT VI: 42 U.S.C. §1983 – Failure to Intervene
    Against Defendant Agacinski, Defendant Westveld, Defendant Napp
        Defendant Childs, Defendant Maynard, Defendant Collins,
     Defendant Jorgensen, Defendant Sanders, and Defendant Thomas

       261. Defendant incorporates by reference its answers to paragraphs 1-

 260 of Plaintiff’s Complaint as though fully set forth herein.

       262. As set forth above, the above-named individual Defendants falsely

 arrested Ramon Ward, unlawfully detained Mr. Ward pursuant to legal process,

 used fabricated evidence against Mr. Ward, suppressed evidence favorable to

 Mr. Ward, and maliciously prosecuted Mr. Ward.

       Response: To the extent the allegations contained in paragraph 262

 pertain to this Defendant and/or Defendants Agacinski, Westveld and Napp,

 same are denied as untrue in the form and manner alleged and in fact. As to the

 remainder of the allegations, Defendant is without knowledge or information

 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.

       263. Each above-named individual Defendants observed and/or had

 reason to know that Ramon Ward was falsely arrested, unlawfully detained




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 pursuant to legal process, had fabricated evidence used against him, had

 evidence favorable to him suppressed, and was maliciously prosecuted.

       Response: To the extent the allegations contained in paragraph 263

 pertain to this Defendant and/or Defendants Agacinski, Westveld and Napp,

 same are denied as untrue in the form and manner alleged and in fact. As to the

 remainder of the allegations, Defendant is without knowledge or information

 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.

       264. Each above-named individual Defendants had an opportunity to

 intervene in the false arrest of Ramon Ward, the unlawful detention of Mr. Ward

 pursuant to legal process, the use of fabricated evidence against Mr. Ward, the

 suppression of evidence favorable to Mr. Ward, and the malicious prosecution

 of Mr. Ward.

       Response: To the extent the allegations contained in paragraph 264

 pertain to this Defendant and/or Defendants Agacinski, Westveld and Napp,

 same are denied as untrue in the form and manner alleged and in fact. As to the

 remainder of the allegations, Defendant is without knowledge or information

 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.




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       265. Each above-named individual Defendants failed to intervene in the

 false arrest of Ramon Ward, the unlawful detention of Mr. Ward pursuant to

 legal process, the use of fabricated evidence against Mr. Ward, the suppression

 of evidence favorable to Mr. Ward, and the malicious prosecution of Mr. Ward.

       Response: To the extent the allegations contained in paragraph 265

 pertain to this Defendant and/or Defendants Agacinski, Westveld and Napp,

 same are denied as untrue in the form and manner alleged and in fact. As to the

 remainder of the allegations, Defendant is without knowledge or information

 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.

       266. Each above-named individual Defendants acted under color of law.

       Response: The allegations contained in paragraph 266 do not pertain to

 this Defendant and, therefore, no response is required. To the extent a response

 is required, Defendant is without knowledge or information sufficient to form

 a belief as to the truth of same and leaves Plaintiff to his proofs.

       267. The failure to intervene in the constitutional violations suffered by

 Ramon Ward resulted in damages and injuries to Mr. Ward.

       Response: To the extent the allegations contained in paragraph 267

 pertain to this Defendant and/or Defendants Agacinski, Westveld and Napp,

 same are denied as untrue in the form and manner alleged and in fact. As to the


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 remainder of the allegations, Defendant is without knowledge or information

 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.

       268. The failure to intervene in the constitutional violations suffered by

 Ramon Ward was undertaken pursuant to Defendant County’s policy and/or

 custom of the WCPO obtaining false statements and false testimony for use

 against criminal defendants and concealing the fact that the statements and

 testimony were false from courts and criminal defendants, as set forth above.

       Response: In response to the allegations contained in paragraph 268,

 same are denied as untrue in the form and manner alleged and in fact.

             COUNT VII: 42 U.S.C. §1983 – Failure to Protect
   Against Defendant Childs, Defendant Jorgensen, Defendant Sanders,
  Defendant Thomas, and Defendants Unknown Employees of the Wayne
      County Prosecutor’s Office and the Detroit Police Department

       269. Defendant incorporates by reference its answers to paragraphs 1-

 268 of Plaintiff’s Complaint as though fully set forth herein.

       270. As set forth above, the above-named individual Defendants failed

 to protect Ramon Ward from the violent sexual assault by Cowan in the 9th

 floor lockup of DPD headquarters.

       Response: To the extent the allegations contained in paragraph 270

 pertain to this Defendant and/or Defendants Agacinski, Westveld and Napp,



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 same are denied as untrue in the form and manner alleged and in fact. As to the

 remainder of the allegations, Defendant is without knowledge or information

 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.

       271. As set forth above, the above-named individual Defendants acted

 with deliberate indifference to a substantial risk of serious harm to Ramon

 Ward.

       Response: To the extent the allegations contained in paragraph 271

 pertain to this Defendant and/or Defendants Agacinski, Westveld and Napp,

 same are denied as untrue in the form and manner alleged and in fact. As to the

 remainder of the allegations, Defendant is without knowledge or information

 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.

       272. Ramon Ward was incarcerated in the 9th floor lockup of DPD

 headquarters under conditions that posed a substantial risk of serious harm.

       Response: In response to the allegations contained in paragraph 272,

 Defendant is without knowledge or information sufficient to form a belief as to

 the truth of same and leaves Plaintiff to his proofs.




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       273. The above-named individual Defendants knew that Ramon Ward

 faced a substantial risk of serious harm in the 9th floor lockup of DPD

 headquarters but failed to take reasonable measures to reduce the risk of harm.

       Response: To the extent the allegations contained in paragraph 273

 pertain to this Defendant and/or Defendants Agacinski, Westveld and Napp,

 same are denied as untrue in the form and manner alleged and in fact. As to the

 remainder of the allegations, Defendant is without knowledge or information

 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.

       274. Each above-named individual Defendants acted under color of law.

       Response: The allegations contained in paragraph 274 do not pertain to

 this Defendant and, therefore, no response is required. To the extent a response

 is required, Defendant is without knowledge or information sufficient to form

 a belief as to the truth of same and leaves Plaintiff to his proofs.

       275. The failure to protect Ramon Ward resulted in damages and

 injuries to Mr. Ward.

       Response: The allegations contained in paragraph 275 do not pertain to

 this Defendant and, therefore, no response is required. To the extent a response

 is required, Defendant is without knowledge or information sufficient to form

 a belief as to the truth of same and leaves Plaintiff to his proofs.


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     COUNT VIII: 42 U.S.C. §1983 – Policy and/or Custom of the WCPO
            Fabricating Evidence and Suppressing Evidence
                        Against Defendant County

       276. Defendant incorporates by reference its answers to paragraphs 1-

 275 of Plaintiff’s Complaint as though fully set forth herein.

       277. As set forth above, the above-named individual Defendants falsely

 arrested Ramon Ward, unlawfully detained Mr. Ward pursuant to legal process,

 used fabricated evidence against Mr. Ward, suppressed evidence favorable to

 Mr. Ward, and maliciously prosecuted Mr. Ward.

       Response: To the extent the allegations contained in paragraph 277,

 pertain to this Defendant, same are denied as untrue in the form and manner

 alleged and in fact.

       278. As set forth above, Defendant County had/has a policy of the WCPO

 obtaining false statements and false testimony for use against criminal

 defendants and concealing the fact that the statements and testimony were

 false from courts and criminal defendants.

       Response: In response to the allegations contained in paragraph 278,

 same are denied as untrue in the form and manner alleged and in fact.

       279. As set forth above, Defendant County had/has a custom of

 tolerance and/or acquiescence of the WCPO obtaining false statements and




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 false testimony for use against criminal defendants and concealing the fact that

 the statements and testimony were false from courts and criminal defendants.

       Response: In response to the allegations contained in paragraph 279,

 same are denied as untrue in the form and manner alleged and in fact.

       280. Defendant County made a deliberate choice to have a policy and/or

 custom of the WCPO obtaining false statements and false testimony for use

 against criminal defendants and concealing the fact that the statements and

 testimony were false from courts and criminal defendants.

       Response: In response to the allegations contained in paragraph 280,

 same are denied as untrue in the form and manner alleged and in fact.

       281. Defendant County’s policy and/or custom of the WCPO obtaining

 false statements and false testimony for use against criminal defendants and

 concealing the fact that the statements and testimony were false from courts

 and criminal defendants was the moving force behind the false arrest of Ramon

 Ward, the unlawful detention of Mr. Ward pursuant to legal process, the use of

 fabricated evidence against Mr. Ward, the suppression of evidence favorable to

 Mr. Ward, and the malicious prosecution of Mr. Ward.

       Response: In response to the allegations contained in paragraph 281,

 same are denied as untrue in the form and manner alleged and in fact.




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       282. Defendant County’s policy and/or custom of the WCPO obtaining

 false statements and false testimony for use against criminal defendants caused

 the false arrest of Ramon Ward, the unlawful detention of Mr. Ward pursuant

 to legal process, the use of fabricated evidence against Mr. Ward, the

 suppression of evidence favorable to Mr. Ward, and the malicious prosecution

 of Mr. Ward.

       Response: In response to the allegations contained in paragraph 282,

 same are denied as untrue in the form and manner alleged and in fact.

       283. Defendant County’s policy and/or custom of the WCPO obtaining

 false statements and false testimony for use against criminal defendants and

 concealing the fact that the statements and testimony were false from courts

 and criminal defendants resulted in damages and injuries to Ramon Ward.

       Response: In response to the allegations contained in paragraph 283,

 same are denied as untrue in the form and manner alleged and in fact.

              COUNT IX: Michigan State Law – False Arrest
 Against Defendant Childs, Defendant Jorgensen, Defendant Sanders, and
                           Defendant Thomas

       284. Defendant incorporates by reference its answers to paragraphs 1-

 283 of Plaintiff’s Complaint as though fully set forth herein.

       285. The above-named individual Defendants arrested Ramon Ward.




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       Response: The allegations contained in paragraph 285 do not pertain to

 this Defendant and, therefore, no response is required. To the extent a response

 is required, Defendant is without knowledge or information sufficient to form

 a belief as to the truth of same and leaves Plaintiff to his proofs.

       286. There was no probable cause to arrest Ramon Ward.

       Response: The allegations contained in paragraph 286 are denied as

 untrue in the form and manner alleged and in fact.

       287. The arrest of Ramon Ward resulted in damages and injuries to Mr.

 Ward.

       Response: The allegations contained in paragraph 287 do not pertain to

 this Defendant and, therefore, no response is required. To the extent a response

 is required, Defendant is without knowledge or information sufficient to form

 a belief as to the truth of same and leaves Plaintiff to his proofs.


         COUNT X: Michigan State Law – Malicious Prosecution
   Against Defendant Agacinski, Defendant Westveld, Defendant Napp
   Defendant Childs, Defendant Maynard, Defendant Collins, Defendant
         Jorgensen, Defendant Sanders, and Defendant Thomas

       288. Defendant incorporates by reference its answers to paragraphs 1-

 287 Plaintiff’s Complaint as though fully set forth herein.

       289. The above-named individual Defendants caused, initiated,

 instituted, and/or continued a criminal prosecution against Ramon Ward.


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       Response: To the extent the allegations contained in paragraph 289

 pertain to this Defendant and/or Defendants Agacinski, Westveld and Napp,

 same are denied as untrue in the form and manner alleged and in fact. As to the

 remainder of the allegations, Defendant is without knowledge or information

 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.

       290. The criminal proceedings against Ramon Ward terminated in Mr.

 Ward’s favor.

       Response: The allegations contained in paragraph 290 are denied as

 untrue in the form and manner alleged and in fact.

       291. There was no probable cause for causing, initiating, instituting,

 and/or continuing the criminal prosecution and/or proceeding against Ramon

 Ward.

       Response: The allegations contained in paragraph 291 are denied as

 untrue in the form and manner alleged and in fact.

       292. The above-named individual Defendants caused, initiated,

 instituted, and/or continued the criminal prosecution and/or proceeding

 against Ramon Ward with malice and/or a purpose other than that of bringing

 Mr. Ward to justice.




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       Response: To the extent the allegations contained in paragraph 292

 pertain to this Defendant and/or Defendants Agacinski, Westveld and Napp,

 same are denied as untrue in the form and manner alleged and in fact. As to the

 remainder of the allegations, Defendant is without knowledge or information

 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.

       293. Ramon Ward suffered a deprivation of liberty as a result of the

 criminal prosecution and/or proceeding.

       Response: To the extent the allegations contained in paragraph 293

 pertain to this Defendant and/or Defendants Agacinski, Westveld and Napp,

 same are denied as untrue in the form and manner alleged and in fact. As to the

 remainder of the allegations, Defendant is without knowledge or information

 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.

       294. Ramon Ward suffered a special injury in the form of a seizure of his

 person.

       Response: To the extent the allegations contained in paragraph 294

 pertain to this Defendant and/or Defendants Agacinski, Westveld and Napp,

 same are denied as untrue in the form and manner alleged and in fact. As to the

 remainder of the allegations, Defendant is without knowledge or information


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 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.

       295. The above-named individual Defendants are liable to Ramon Ward

 for treble damages pursuant to Michigan Compiled Laws Annotated 600.2907.

       Response: To the extent the allegations contained in paragraph 295

 pertain to this Defendant and/or Defendants Agacinski, Westveld and Napp,

 same are denied as untrue in the form and manner alleged and in fact. As to the

 remainder of the allegations, Defendant is without knowledge or information

 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.

            COUNT XI: Michigan State Law – Abuse of Process
   Against Defendant Agacinski, Defendant Westveld, Defendant Napp,
   Defendant Childs, Defendant Maynard, Defendant Collins, Defendant
         Jorgensen, Defendant Sanders, and Defendant Thomas

       296. Defendant incorporates by reference its answers to paragraphs 1-

 295 of Plaintiff’s Complaint as though fully set forth herein.

       297. The above-named individual Defendants acted with an ulterior

 purpose in the criminal prosecution and/or proceeding against Ramon Ward.

       Response: To the extent the allegations contained in paragraph 297

 pertain to this Defendant and/or Defendants Agacinski, Westveld and Napp,

 same are denied as untrue in the form and manner alleged and in fact. As to the



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 remainder of the allegations, Defendant is without knowledge or information

 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.

       298. The above-named individual Defendants acted improperly and/or

 irregularly in the use of process during the criminal prosecution and/or

 proceeding against Ramon Ward.

       Response: To the extent the allegations contained in paragraph 298

 pertain to this Defendant and/or Defendants Agacinski, Westveld and Napp,

 same are denied as untrue in the form and manner alleged and in fact. As to the

 remainder of the allegations, Defendant is without knowledge or information

 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.

       299. The above-named individual Defendants’ abuse of process resulted

 in damages and injuries to Ramon Ward.

       Response: To the extent the allegations contained in paragraph 299

 pertain to this Defendant and/or Defendants Agacinski, Westveld and Napp,

 same are denied as untrue in the form and manner alleged and in fact. As to the

 remainder of the allegations, Defendant is without knowledge or information

 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.


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   COUNT XII: Michigan State Law – Intentional Infliction of Emotional
  Distress Against Defendant Agacinski, Defendant Westveld, Defendant
     Napp Defendant Childs, Defendant Maynard, Defendant Collins,
    Defendant Jorgensen, Defendant Sanders, and Defendant Thomas

       300. Defendant incorporates by reference paragraphs 1-299 its answers

 to Plaintiff’s Complaint as though fully set forth herein.

       301. The above-named individual Defendants engaged in extreme and

 outrageous conduct.

       Response: To the extent the allegations contained in paragraph 301

 pertain to this Defendant and/or Defendants Agacinski, Westveld and Napp,

 same are denied as untrue in the form and manner alleged and in fact. As to the

 remainder of the allegations, Defendant is without knowledge or information

 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.

       302. The above-named individual Defendants acted with intent and/or

 recklessness.

       Response: To the extent the allegations contained in paragraph 302

 pertain to this Defendant and/or Defendants Agacinski, Westveld and Napp,

 same are denied as untrue in the form and manner alleged and in fact. As to the

 remainder of the allegations, Defendant is without knowledge or information



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 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.

       303. The above-named individual Defendants’ conduct caused severe

 emotional distress to Ramon Ward.

       Response: To the extent the allegations contained in paragraph 303

 pertain to this Defendant and/or Defendants Agacinski, Westveld and Napp,

 same are denied as untrue in the form and manner alleged and in fact. As to the

 remainder of the allegations, Defendant is without knowledge or information

 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.

           COUNT XIII: Michigan State Law – Gross Negligence
   Against Defendant Agacinski, Defendant Westveld, Defendant Napp,
   Defendant Childs, Defendant Maynard, Defendant Collins, Defendant
         Jorgensen, Defendant Sanders, and Defendant Thomas

       304. Defendant incorporates by reference its answers to paragraphs 1-

 303 Plaintiff’s Complaint as though fully set forth herein.

       305. As set forth above, the above-named individual Defendants failed

 to protect Ramon Ward from the violent sexual assault by Cowan in the 9th

 floor lockup of DPD headquarters.

       Response: To the extent the allegations contained in paragraph 305

 pertain to this Defendant and/or Defendants Agacinski, Westveld and Napp,



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 same are denied as untrue in the form and manner alleged and in fact. As to the

 remainder of the allegations, Defendant is without knowledge or information

 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.

       306. As set forth above, the conduct of the above-named individual

 Defendants was so reckless that it demonstrated a substantial lack of concern

 for whether injury resulted to Ramon Ward.

       Response: To the extent the allegations contained in paragraph 306

 pertain to this Defendant and/or Defendants Agacinski, Westveld and Napp,

 same are denied as untrue in the form and manner alleged and in fact. As to the

 remainder of the allegations, Defendant is without knowledge or information

 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.

       307. The conduct of the above-named individual Defendants was the

 proximate cause of Ramon Ward’s injuries and damages.

       Response: To the extent the allegations contained in paragraph 307

 pertain to this Defendant and/or Defendants Agacinski, Westveld and Napp,

 same are denied as untrue in the form and manner alleged and in fact. As to the

 remainder of the allegations, Defendant is without knowledge or information




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 sufficient to form a belief as to the truth of same and leaves Plaintiff to his

 proofs.

       WHEREFORE, Defendant WAYNE COUNTY respectfully requests that

 this Honorable Court enter an Order for Judgment of No Cause for Action in its

 favor, with costs and attorney fees to be taxed.



                                               Respectfully submitted,

                                               PLUNKETT COONEY

                                               By /s/Audrey J. Forbush
                                                 AUDREY J. FORBUSH (P41744)
                                                 Attorney for Defendant
                                                 Wayne County
                                                 Plaza One Financial Center
                                                 111 E. Court Street – Suite 1B
                                                 Flint, MI 48502
                                                 (810) 342-7014
                                                 aforbush@plunkettcooney.com
 Dated: February 17, 2022

            DEFENDANT WAYNE COUNTY’S AFFIRMATIVE DEFENSES

       Now comes Defendant, Wayne County, by and through its attorneys,

 and for its Affirmative Defenses says as follows:

       1.      Plaintiff’s claim fails to state a claim upon which relief can be

 granted for municipal liability claims asserted under 42 U.S.C. § 1983.

       2.     The applicable statutes of limitations bar the claim.



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       3.     The individual Defendants Agacinski, Westveld and Napp are

 entitled to absolute, qualified, prosecutorial and/or sovereign immunity on

 the claims asserted under 42 U.S.C. § 1983.

       4.     The individual Defendants Agacinski, Westveld and Napp are

 entitled to governmental and/or prosecutorial immunity for claims asserted

 under state law.

       5.     Plaintiff has failed to mitigate his damages.

       6.     Litigating a 26 year old controversy without any prior notice of

 an intent to pursue civil claims violated Defendants’ rights to due process as

 the case cannot be fairly litigated.

       7.     The criminal proceedings did not terminate in Plaintiff’s favor.

       8.     Probable cause to charge the Plaintiff existed.

       9.     Any injury suffered by Plaintiff was proximately caused by his

 own wrongdoing. Defendants are not the direct or proximate cause of

 Plaintiff’s damages.

       10.    Defendant is or may be entitled to a set off for any financial

 recovery to Plaintiff in administrative proceedings under the Michigan

 Wrongful Imprisonment Compensation Act, MCL 691.1751 et. seq.

       11.    Some or all of Plaintiff’s claims may be barred by the Doctrine of

 Collateral Estoppel.

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       12.   To the extent applicable, Plaintiff’s claims may be barred by the

 Eleventh Amendment.

       13.   Some or all of Plaintiff’s claims are or may be barred by waiver

 release as Plaintiff consented to being interviewed or interrogated and

 knowingly opted not to have legal counsel present during Plaintiff’s

 interview/interrogation.

       14.   To the extent applicable, the Wayne County is entitled to

 governmental immunity.

       15.   To the extent applicable, the individual Defendants are entitled to

 governmental immunity pursuant to MCL 691.1407 et. seq.

       16.   At all times, the individual Defendants acted in good faith and

 without malice. See Odom v. Wayne County.

       17.   Plaintiff’s Complaint may be barred in whole, or in part, by the

 wrongful conduct doctrine.

       18.   Defendant incorporates by reference all Affirmative Defenses

 asserted by any other Defendant in this case to the extent they are applicable.

       19.   Defendant reserves the right to amend its Affirmative Defenses as

 they become known as the case progresses.


                                             Respectfully submitted,


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                                              PLUNKETT COONEY

                                              By /s/Audrey J. Forbush
                                                AUDREY J. FORBUSH (P41744)
                                                Attorney for Defendant
                                                Wayne County
                                                Plaza One Financial Center
                                                111 E. Court Street – Suite 1B
                                                Flint, MI 48502
                                                (810) 342-7014
                                                aforbush@plunkettcooney.com
 Dated: February 17, 2022



                       DEFENDANT WAYNE COUNTY
                  RELIANCE UPON DEMAND FOR JURY TRIAL


       NOW COMES Defendant, WAYNE COUNTY, by and through its attorneys,

 PLUNKETT COONEY, and hereby relies upon the demand for trial by jury filed

 by Plaintiff in the above-entitled cause of action.

                                              Respectfully submitted,

                                              PLUNKETT COONEY

                                              By /s/Audrey J. Forbush
                                                AUDREY J. FORBUSH (P41744)
                                                Attorney for Defendant
                                                Wayne County
                                                Plaza One Financial Center
                                                111 E. Court Street – Suite 1B
                                                Flint, MI 48502
                                                (810) 342-7014
                                                aforbush@plunkettcooney.com
 Dated: February 17, 2022


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                                        PROOF OF SERVICE

         The undersigned certifies that on February 17, 2022, a copy of the
         foregoing document was served upon parties of record in this
         matter at their stated address(es) as disclosed in the pleadings
         herein via:

                               Hand delivery           Certified Mail
                               U.S. Mail               Facsimile
                               Email                   Electronic e-file

         I declare under the penalty of perjury that the foregoing statement
         is true to the best of my information, knowledge and belief.

                                           /s/ Bobbie Haidy
                                         Bobbie Haidy



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